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                 THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS,
LLC,
             Plaintiff,
       v.                                    CIVIL ACTION NO. 23-867-CFC
AARP SERVICES INC.
                                             JURY TRIAL DEMANDED

             Defendant.




             NOTICE OF DISMISSAL WITHOUT PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and 41(a)(1)(B), Plaintiff

Symbology Innovations, LLC respectfully submits this notice of voluntary dismissal

WITHOUT PREJUDICE of Defendant AARP Services Inc.



Dated: September 8, 2023                    Respectfully Submitted,

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